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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA

                      Plaintiff,
                                                    Civil Action No.: 0:23-cv-03009-PJS-
        v.
                                                    JFD
 AGRI STATS, INC.

                      Defendant.



             NOTICE OF HEARING ON DEFENDANT’S MOTION TO
             SEAL SENSITIVE INFORMATION IN THE COMPLAINT

       PLEASE TAKE NOTICE THAT Defendant Agri Stats, Inc., through their

undersigned counsel, will bring a Motion to Seal Sensitive Information in the Complaint,

at a hearing date to be determined, before the Honorable John F. Docherty. The hearing

will be held at the United States District Court for the District of Minnesota, located at 300

South Fourth Street, Minneapolis, MN 55415.

Dated: October 6, 2023                  /s/ Peter H. Walsh

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